

Sullivan v Snow (2021 NY Slip Op 01873)





Sullivan v Snow


2021 NY Slip Op 01873


Decided on March 25, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 25, 2021

Before: Renwick, J.P., Mazzarelli, Singh, González, JJ. 


Index No. 805366/16 Appeal No. 13431N Case No. 2020-04491 

[*1]Daniel Sullivan, Plaintiff-Appellant,
vRobert Snow et al., Defendants-Respondents.


Silberstein, Awad &amp; Miklos, P.C., Garden City (Joseph P. Awad of counsel), for appellant.
Aaronson Rappaport Feinstein &amp; Deutsch, LLP, New York (Steven C. Mandell of counsel), for respondents.



Order, Supreme Court, New York County (Eileen A. Rakower, J.), entered on or about March 4, 2020, which, upon granting plaintiff's motion to reargue, reinstated his lost earnings claim but precluded the claim for years which tax returns are not produced to defendants, unanimously reversed, without costs, and the claim reinstated without limitation.
The underlying preclusion order should not have been issued sua sponte at a compliance conference, with no motion pending (see Brown v Montefiore Med. Ctr., 168 AD3d 488, 489 [1st Dept 2019]). Accordingly, we vacate the preclusion order.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: March 25, 2021








